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12
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13
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
     UNITED STATES OF AMERICA,                No. CR 19-282-RGK
15
                Plaintiff,                    PARTIES’ JOINT STATEMENT OF THE
16                                            CASE
                      v.
17                                            Trial Date:      August 10, 2021
     ZHONGTIAN LIU,                           Trial Time:      9:00 a.m.
18      aka “Liu Zhongtian,”                  Location:        Courtroom of the
        aka “Chairman,”                                        Hon. R. Gary
19      aka “Uncle Liu,”                                       Klausner
        aka “UL,”
20      aka “Big Boss,”
     CHINA ZHONGWANG HOLDINGS
21      LIMITED,
        aka “ZW,”
22      aka “Mother Ship,”
     ZHAOHUA CHEN,
23      aka “Chen Zhaohua,”
        aka “Uncle Chen,”
24   XIANG CHUN SHAO,
        aka “Johnson Shao,”
25   PERFECTUS ALUMINIUM INC.,
        aka “Perfectus Aluminum
26      Inc.,”
     PERFECTUS ALUMINUM
27      ACQUISITIONS, LLC,
     SCUDERIA DEVELOPMENT, LLC,
28   1001 DOUBLEDAY, LLC,
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1    VON KARMAN – MAIN STREET, LLC,
        and
2    10681 PRODUCTION AVENUE, LLC,

3                Defendants.

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5          Plaintiff United States of America, by and through its counsel
6    of record, the Acting United States Attorney for the Central District
7    of California and Assistant United States Attorneys Roger A. Hsieh,
8    Poonam G. Kumar, and Gregory D. Bernstein, and defendants Perfectus
9    Aluminium Inc., also known as “Perfectus Aluminum Inc.” and Perfectus
10   Aluminum Acquisitions, LLC (collectively, the “Perfectus
11   defendants”), by and through their counsel of record, Robert Ruyak;
12   Scuderia Development, LLC; 1001 Doubleday, LLC; Von Karman-Main
13   Street, LLC; and 10681 Production Avenue, LLC (collectively, the
14   “Warehouse defendants”), by and through their counsel of record,
15   Stephen Larson, Hilary Potashner, and A. Alexander Lowder
16   (collectively, the “parties”) hereby file their Joint Statement of
17   the Case.
18    Dated: August 5, 2021                Respectfully submitted,
19                                         TRACY L. WILKISON
                                           Acting United States Attorney
20
                                           SCOTT M. GARRINGER
21                                         Assistant United States Attorney
                                           Chief, Criminal Division
22

23                                               /s/
                                           ROGER A. HSIEH
24                                         POONAM G. KUMAR
                                           GREGORY D. BERNSTEIN
25                                         Assistant United States Attorneys
26                                         Attorneys for Plaintiff
                                           UNITED STATES OF AMERICA
27

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1                                          /s/ (per email authorization)
                                          ROBERT RUYAK
2                                         Attorney for
                                          The Perfectus Defendants
3

4                                          /s/ (per email authorization)
                                          A. ALEXANDER LOWDER
5                                         Attorney for
                                          The Warehouse Defendants
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1                        PARTIES’ JOINT STATEMENT OF THE CASE

2          The indictment charges defendants Perfectus Aluminium, Inc.

3    (“Perfectus”), Perfectus Aluminum Acquisitions LLC (collectively, the

4    “Perfectus defendants”); and defendants Scuderia Development LLC,

5    1001 Doubleday LLC, Von Karman-Main Street LLC, and 10681 Production

6    Avenue LLC (collectively, the “Warehouse defendants”) with conspiracy

7    to defraud the United States and conspiracy to commit (1) wire fraud,

8    alleging defendants engaged in a scheme to fraudulently inflate the

9    value of China Zhongwang Holdings’ (“CZW”) stock, by among other

10   things, falsely inflating CZW’s sales revenue, its volume of exports

11   to the United States, and overall financial position; (2) customs

12   fraud, alleging defendants evaded $1.8 billion in anti-dumping and

13   countervailing duties (AD/CVD) owed to the U.S. Customs Border &

14   Protection and the U.S. Treasury when defendants imported 2.2 million

15   aluminum extrusions in the shape of pallets into the United States;

16   and (3) international promotional money laundering, alleging

17   defendants moved of hundreds of millions of dollars through accounts

18   in the United States to promote the investor fraud and evasion of
19   AD/CVD duties.     Defendants are also charged with substantive counts

20   of wire fraud and customs fraud.        The Perfectus defendants are also

21   charged with substantive counts of international promotional money

22   laundering.    Defendants have pleaded not guilty to the charges and

23   are presumed innocent of the allegations.

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